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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                )   Case No.: 2:15-CR-131 TLN
10                                            )
                          Plaintiff,          )   STIPULATION AND ORDER CONTINUING
11                                            )   JUDGMENT AND SENTENCING
     vs.                                      )
12                                            )   Date: August 30, 2018
     SHANNON ARMSTRONG,                       )   Time: 9:30 a.m.
13                                            )   Judge: Honorable Troy L. Nunley
                          Defendant.          )
14                                            )

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16         The parties hereby stipulate the following:

17         1.   Sentencing in this matter is presently set for April 19, 2018.

18   Counsel for the parties request the Judgment and Sentencing be continued to

19   August 30, 2018 at 9:30 a.m.      Assistant United States Attorney Samuel Wong

20   and United States Probation Officer Anthony Andrews have been advised of this

21   request and have no objection.

22         2. The parties request the Court adopt the following schedule

23   pertaining to the presentence report:
24              Judgment and Sentencing date:                        8/30/18
25
                Reply, or Statement of Non-Opposition:               8/23/18
26
                Motion for Correction of the Presentence
27              Report Shall be filed with the Court and
                served on the Probation Officer and
28              opposing counsel no later than:                      8/2/18
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1
               The Presentence Report shall be filed
2              with the Court And disclosed to counsel
               no later than:                                    7/19/18
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4
               Counsel’s written objections to the
               Presentence Report Shall be delivered
5              to the probation officer and opposing
               Counsel no later than:                            6/21/18
6
               The Presentence Report shall be filed
7              with the Court And disclosed to counsel
               no later than:                                    n/a
8

9
          IT IS SO STIPULATED.
10
     Dated:   March 7, 2018                    /s/ John R. Manning
11
                                               JOHN R. MANNING
                                               Attorney for Defendant
12
                                               Shannon Armstrong
13
     Dated:   March 7, 2018                    McGregor W. Scott
14
                                               United States Attorney
                                               by: /s/ Samuel Wong
15
                                               SAMUEL WONG
                                               Assistant United States Attorney
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1                                        ORDER

2          The Court having received, read, and considered the parties’

3    stipulation, and good cause appearing therefrom, the Court hereby adopts the

4    parties’ stipulation in its entirety as its order.

5          IT IS SO FOUND AND ORDERED this 8th day of March, 2018.

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                                                 Troy L. Nunley
10                                               United States District Judge
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